
6 N.Y.2d 852 (1959)
William Foster, Appellant,
v.
City of New York, Respondent, et al., Defendants.
Court of Appeals of the State of New York.
Argued March 10, 1959.
Decided May 29, 1959.
Bernard Meyerson and Seymour Epstein for appellant.
Charles H. Tenney, Corporation Counsel (John A. Murray and Seymour B. Quel of counsel), for respondent.
Concur: Chief Judge CONWAY and Judges DYE, FULD and FROESSEL. Judges DESMOND, VAN VOORHIS and BURKE dissent and vote to affirm upon the ground that the undisputed proof as to the physical facts, including photographs submitted by both parties, established that the depression in the sidewalk was too slight to constitute a trap.
Judgment reversed and a new trial granted, with costs to abide the event, upon the ground that plaintiff established a prima facie case in negligence. No opinion.
